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 8   Attorneys for Defendant David Harbour
 9                       IN THE UNITED STATES DISTRICT COURT
10
                             FOR THE DISTRICT OF ARIZONA
11
     United States of America,                     Case No. 2:19-cr-00898-DLR (DMF)
12
13                       Plaintiff,
                                                   NOTICE OF FILING TRANSCRIPT
14          vs.                                    REGARDING AUDIO CLIPPINGS
15   David Allen Harbour,
16                       Defendant.
17
18          Pursuant to the Court’s instructions at the June 16, 2022 evidentiary hearing,
19
     Defendant hereby this day files a transcript (attached) regarding exhibits 88-95 of the
20
     audio clippings as follows:
21
22         Exhibit 88    1. Call #239560820 on January 15, 2022. Time stamp 3.52 – 4.14
           Exhibit 89    2. Call #238667006 on December 30, 2021. Time stamp 2.48-3.16
23         Exhibit 90    3. Call #238391956 on December 25, 2021. Time stamp 3.05-3.40
24         Exhibit 91    4. Call #239864826 on January 20, 2022. Time stamp 11.45-12.16
           Exhibit 92    5. Call #238164688 on December 21, 2021. Time stamp 6.18-7.30
25         Exhibit 93    6. Call #238149018 on December 21, 2021. Time stamp 2.04-4.26
26         Exhibit 94    7. Call #239130952 on January 7, 2022. Time stamp 7.00-7.49
           Exhibit 95    8. Call #238164688 on December 21, 2021. Time stamp 3.15-4.05
27
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     Case 2:19-cr-00898-DLR Document 394 Filed 06/22/22 Page 2 of 17


 1         RESPECTFULLY SUBMITTED this 22nd day of June 2022.
 2                                        CHRISTIAN DICHTER & SLUGA, P.C.
 3
 4                                        By: /s/ Stephen M. Dichter
 5                                            Stephen M. Dichter
                                              Jill Ann Herman
 6                                            Iulia A. Taranu
                                              2800 North Central Avenue, Suite 860
 7                                            Phoenix, Arizona 85004
 8                                            Attorneys for Defendant David A. Harbour

 9
10
                                CERTIFICATE OF SERVICE
11
            I hereby certify that on June 22, 2022 I electronically transmitted the attached
12   document to the Clerk’s Office using the CM/ECF system for filing and for transmittal
13   of Notice of Electronic Filing to the following CM/ECF registrants:

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27
28

                                                2
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 Reporter's Transcript of Recorded Telephonic Conversation - 06/21/2022



            IN THE UNITED STATES DISTRICT COURT

                 FOR THE DISTRICT OF ARIZONA



UNITED STATES OF AMERICAN,      ) Case No.
                                ) 2:19-cr-00898-DLR (DMF)
            Plaintiff,          )
                                )
     vs.                        )
                                )
DAVID ALLEN HARBOUR,            )
                                )
            Defendant.          )
________________________________)




             REPORTER'S TRANSCRIPT OF RECORDED

             TELEPHONIC CONVERSATIONS BETWEEN

                 DAVID HARBOUR AND BART SHEA




Glennie Reporting Services, LLC
1555 East Orangewood Avenue
Phoenix, Arizona 85020-5130
                                         Prepared by:
602.266.6535                             Jennifer Honn, RPR
www.glennie-reporting.com                Arizona CR No. 50885
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      Reporter's Transcript of Recorded Telephonic Conversation - 06/21/2022

                                                                               2

 1                                 I N D E X

 2   CALL #                                                      PAGE

 3   Exhibit 88 Call #239560820 on January 15, 2022                    4
 4   Exhibit 89 Call #238667006 on December 30, 2021                   5

 5   Exhibit 90 Call #238391956 on December 25, 2021                   6

 6   Exhibit 91 Call #239864826 on January 20, 2022                    7
 7   Exhibit 92 Call #238164688 on December 21, 2021                   8

 8   Exhibit 93 Call #238149018 on December 21, 2021              10

 9   Exhibit 94 Call #239130952 on January 7, 2022                13
10   Exhibit 95 Call #238164688 on December 21, 2021              14
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      Reporter's Transcript of Recorded Telephonic Conversation - 06/21/2022

                                                                               3

 1              REPORTER'S TRANSCRIPT OF ELECTRONIC PROCEEDINGS,

 2   TELEPHONIC CONVERSATIONS BETWEEN DAVID HARBOUR AND BART

 3   SHEA, was reported from electronic media by JENNIFER HONN,
 4   Registered Professional Reporter and a Certified Reporter

 5   in and for the State of Arizona.

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                                                                               4

 1                Call #239560820 on January 15, 2022, Exhibit 88

 2                   (Beginning of recording.)

 3                   BART SHEA:     -- you got fucking into all
 4   them.   Bailey's going, "I don't know.           Let's get together.

 5   We'll talk about it."        And, hey, David, I don't have a

 6   game plan.     Today I owe fucking Schwan 400.          1.6 to Daryl.
 7   Everything -- well, they're all capitalized inside the

 8   fucking stock, but --

 9                   DAVID HARBOUR:      Okay.
10                   BART SHEA:     -- but I know how that's going
11   to work --

12                   (End of recording.)
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                                                                               5

 1               Call #238667006 on December 30, 2021, Exhibit 89

 2                   (Beginning of recording.)

 3                   DAVID HARBOUR:      Yeah.
 4                   BART SHEA:     So --

 5                   DAVID HARBOUR:      Okay.

 6                   BART SHEA:     And then it's everyone's going
 7   to be pretty much shut down till next year, so --

 8                   DAVID HARBOUR:      Anything I can do today to

 9   help (indiscernible) the job site?
10                   BART SHEA:     Get your dumb ass out of there
11   and get back to work.

12                   DAVID HARBOUR:      Yeah.    Yeah.    Well, I need
13   your help on that.

14                   BART SHEA:     Going to do everything I can do.

15                   DAVID HARBOUR:      I know you are.
16                   (End of recording.)

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                                                                               6

 1               Call #238391956 on December 25, 2021, Exhibit 90

 2                   (Beginning of recording.)

 3                   DAVID HARBOUR:      -- crazy so -- but I just
 4   wanted to call.      Tell Sheryl, tell Katie, tell --

 5                   BART SHEA:     I will.

 6                   DAVID HARBOUR:      -- (indiscernible) everybody
 7   Merry Christmas from me.        Tell them all thank you.          Some

 8   of them sorry you --

 9                   BART SHEA:     I will.
10                   DAVID HARBOUR:      -- had to (indiscernible)
11   early.    And I just appreciate everybody.           Tell them that I

12   appreciate them.
13                   BART SHEA:     I -- I ain't going to apologize

14   to nobody for that.

15                   No, I need your ass back to work.
16                   DAVID HARBOUR:      I know.    That's -- that's

17   the plan.

18                   BART SHEA:     I don't -- I don't need you

19   sitting in fucking jail for over stupid shit.

20                   DAVID HARBOUR:      I appreciate that.       Well --

21                   (End of recording.)

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 1                Call #239864826 on January 20, 2022, Exhibit 91

 2                   (Beginning of recording.)

 3                   BART SHEA:     And then Ab's working on
 4   backstage.

 5                   DAVID HARBOUR:      Okay.

 6                   BART SHEA:     But (indiscernible) --
 7                   DAVID HARBOUR:      Yeah.

 8                   BART SHEA:     -- not sure she's going to get

 9   it.   So give her a big assist on that if you can.
10                   DAVID HARBOUR:      I will.     I will.    Yep,
11   I'll --

12                   Wait, it's February 11; right?
13                   BART SHEA:     February 12.

14                   DAVID HARBOUR:      Yeah, let's hope I'm out on

15   February 4th.
16                   BART SHEA:     (Indiscernible.)

17                   DAVID HARBOUR:      (Indiscernible.)

18                   BART SHEA:     I hope you're out on February 4.

19   You got a fucking ton of work to do, dumbass.

20                   DAVID HARBOUR:      I know --

21                   (End of recording.)

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 1                Call #238164688 on December 21, 2021, Exhibit 92

 2                   (Beginning of recording.)

 3                   BART SHEA:      -- everyone was working.
 4                   DAVID HARBOUR:       Yeah.    But my thing was,

 5   like, the whole plan was --

 6                   BART SHEA:      The funny -- the funny thing
 7   was -- the funny thing for me is so, yeah, but why do we

 8   let Harbour live in it?         I went, "Do you realize what

 9   happens to vacant houses?"         Fuck, they steal all the
10   plumbing out of them.
11                   DAVID HARBOUR:       Right.

12                   BART SHEA:      They steal the copper out of
13   them.    They steal the goddamn electric wires out of them.

14                   DAVID HARBOUR:       And, by the way --

15                   BART SHEA:      (Indiscernible) important to
16   live in them --

17                   DAVID HARBOUR:       -- care about my wife and

18   kids.

19                   BART SHEA:      -- to fucking turn a buck.

20   Yeah.

21                   DAVID HARBOUR:       And they live close to their

22   school.

23                   BART SHEA:      Well, yeah, they do, but that's

24   not -- the function of having to fucking replace, over the

25   last 40 years, every air conditioner that was on a vacant

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                                                                                9

 1   house because they steal the fucking three feet of copper.

 2   Jesus Christ.      (Indiscernible.)

 3                   DAVID HARBOUR:       Well, remember, even before
 4   we moved in after you closed, we found a T-shirt in the

 5   guesthouse.     We found a pair of panties in the bathroom in

 6   the guesthouse.
 7                   BART SHEA:      Yeah.

 8                   DAVID HARBOUR:       The high school kids will

 9   remember.
10                   BART SHEA:      It doesn't matter.       You don't
11   fucking leave vacant houses.          They fucking get destroyed.

12                   DAVID HARBOUR:       Right.    Well, good.     Well,
13   I'm -- I'm in good spirits.          I was just thankful today

14   that that's what his argument is because -- yes.               So we'll

15   figure it out.      And --
16                   (End of recording.)

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 1                Call #238149018 on December 21, 2021, Exhibit 93

 2                   (Beginning of recording.)

 3                   RECORDED VOICE:       You may begin speaking now.
 4                   DAVID HARBOUR:       Hello, hello.

 5                   BART SHEA:      Hello.

 6                   DAVID HARBOUR:       Okay.   It was not as bad as
 7   I thought.     I'm hear -- we have a hearing on the 29th.               I

 8   wish you were back sooner, but that's okay.              You will --

 9   you will be needed.       Ashley will be probably calling you.
10   So --
11                   BART SHEA:      Figures.

12                   DAVID HARBOUR:       Well, they're -- they're --
13   they brought the house up, and, you know, Ashley is going

14   to tell them it's your house, you did it, you bought it,

15   you did it.     Yes, Bob (indiscernible) might have put money
16   in, but was it a gift; was it a loan?            Who knows?        We

17   don't know.     Look at the documents.         And we'll get all

18   that to her.      But at the end of the day, you are on the

19   hook for the house.       Not me, not Abby, nobody else.

20                   BART SHEA:      Yeah.

21                   DAVID HARBOUR:       So -- so -- and --

22                   BART SHEA:      That's their fucking strong

23   suit?

24                   DAVID HARBOUR:       That's one of them.       One of

25   the -- yeah.      It's -- it's -- it's -- I'm okay.           I'm

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 1   just -- I don't want to talk on the phone because they're

 2   recording it and Rapp will do whatever he can to get me,

 3   but I am okay.      I feel okay.      Let's put it that way.
 4                   So, but, yeah, I just -- I will give Ashley

 5   your cell phone number.         So maybe Georgie can help her

 6   while you're gone.       Is she in this week?
 7                   BART SHEA:      Yeah.

 8                   DAVID HARBOUR:       Okay.   Okay.

 9                   BART SHEA:      She can send all the texts and
10   all the wire transfers and --
11                   DAVID HARBOUR:       Exactly.

12                   BART SHEA:      -- the bank accounts, and
13   (indiscernible.)

14                   DAVID HARBOUR:       You know anything about --

15                   BART SHEA:      (Indiscernible) I had to pay
16   the -- I had to pay the gas payment because that was going

17   to disconnect, so I just paid the gas.            I mean,

18   (indiscernible) kind of think that it's my house.                  I kind

19   of think my name's on it.         I think (indiscernible) it

20   comes to my address.        I kind of think that (indiscernible)

21   what it is and what it is.

22                   DAVID HARBOUR:       Yeah.

23                   BART SHEA:      We're going to remodel it.

24   You're getting to live there until the remodel's done

25   because it's better to have somebody living in a remodel

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                                                                                12

 1   as opposed to leaving it a vacant house it'll get fucking

 2   stolen (indiscernible) --

 3                   DAVID HARBOUR:       Yeah.
 4                   BART SHEA:      Especially in that neighborhood.

 5                   DAVID HARBOUR:       So -- yeah.

 6                   BART SHEA:      So, I mean, it's not -- it's not
 7   a question.     I mean, it's -- this isn't even a fucking

 8   gray area.

 9                   DAVID HARBOUR:       I know.    So we'll --
10   that's -- that's -- that's one.           And then, yeah, there's a
11   few more, but it's okay.         How do --

12                   (End of recording.)
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 1                 Call #239130952 on January 7, 2022, Exhibit 94

 2                   (Beginning of recording.)

 3                   DAVID HARBOUR:       If you have a chance today
 4   to talk to Abby at all, you might just pop

 5   (indiscernible.)       I talked to her a little bit ago.           She's

 6   feeling kind of down.        I don't know why, but --
 7                   BART SHEA:      She just spent an hour here.

 8                   DAVID HARBOUR:       Oh, she did?     Oh.

 9                   BART SHEA:      Uh-huh.    So, David, why are you
10   paying the alarm bill on my house?             David, why are you
11   paying the fucking landscape bill on my house?                Don't give

12   me that shit.      That's part of my fucking expenses.
13                   DAVID HARBOUR:       Oh, well.    (Indiscernible)

14   to live there for free.         We can at least pay for some of

15   the bills.
16                   BART SHEA:      Yeah, but, again --

17                   DAVID HARBOUR:       I know.     Thank you.

18                   BART SHEA:      (Indiscernible) bills, but it

19   doesn't make any fucking difference.

20                   DAVID HARBOUR:       I appreciate that.

21                   BART SHEA:      If they're tacking the

22   improvements on the fucking assets, I got to pay for them.

23                   DAVID HARBOUR:       That's true.

24                   (End of recording.)

25

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                                                                                14

 1                Call #238164688 on December 21, 2021, Exhibit 95

 2                   (Beginning of recording.)

 3                   BART SHEA:      -- a problem, tell me what you
 4   think is going to fix it.

 5                   DAVID HARBOUR:       Yeah.    And so I didn't know

 6   until today what they were saying, what they were accusing
 7   me of.

 8                   BART SHEA:      I didn't know either.        I don't

 9   think anyone knew.       I don't think they even
10   (indiscernible) till this morning.
11                   DAVID HARBOUR:       Right.    And so it's, like,

12   okay, now I know.       And it's whatever.       So I can now deal
13   with that.

14                   BART SHEA:      I got to tell you -- I got to

15   tell you.     It doesn't really matter if this -- I laughed.
16                   DAVID HARBOUR:       I --

17                   BART SHEA:      So I said, "Well, do you realize

18   that nobody, and I mean fucking nobody, has even called me

19   and asked me about the house?"

20                   DAVID HARBOUR:       Exactly.

21                   BART SHEA:      I go -- I go -- (indiscernible),

22   you know.     And I go, "I don't really give a shit about you

23   know what."     I says I've been audited by Prudential.             I've

24   been audited by every --

25                   (End of recording.)

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 1   STATE OF ARIZONA   )
                        )
 2   COUNTY OF MARICOPA )

 3                BE IT KNOWN that the foregoing proceedings
     are a full, true and accurate record of the previously
 4   recorded proceedings, all done to the best of my skill and
     ability; that the proceedings were transcribed and reduced
 5   to print under my direction.

 6                I CERTIFY that I am in no way related to any
     of the parties hereto nor am I in any way interested in
 7   the outcome hereof.

 8                [ ] Review       and signature was requested.
                  [ ] Review       and signature was waived.
 9                [X] Review       and signature not required.
                  [ ] Review       and signature was requested, but
10   did not do so within 30       days after notification.
11                I CERTIFY that I have complied with the
     ethical obligations set forth in ACJA 7-206(F)(3) and ACJA
12   7-206 J(1)(g)(1) and (2).
13                   Dated at Phoenix, Arizona, this 20th day of
     June, 2022.
14

15                                 /s/Jennifer Honn
                                  ______________________________
16                                Jennifer Honn
                                  Certified Reporter
17                                Arizona CR No. 50885

18

19                I CERTIFY that GLENNIE REPORTING SERVICES,
     LLC, has complied with the ethical obligations set forth
20   in ACJA 7-206.

21

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23
     _______________________________
24   GLENNIE REPORTING SERVICES, LLC
     Registered Reporting Firm
25   Arizona RRF No. R1035

                          Glennie Reporting Services, LLC
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